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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA                  )
                                           )
                                           )   No. 19 CR 321
          v.                               )
                                               Honorable Matthew F. Kennelly
                                           )
                                           )
 ADAN CASARRUBIAS SALGADO                  )

             GOVERNMENT’S MOTION TO ALLOW
SPEAKER IDENTIFICATIONS ON BLACKBERRY MESSENGER EXHIBITS

       The UNITED STATES OF AMERICA, by its attorney, MORRIS PASQUAL,

Acting United States Attorney for the Northern District of Illinois, hereby moves in

limine for leave to include the identities of the speakers on the government’s

Blackberry Messenger exhibits, and in support states as follows:

I.     BACKGROUND

       Defendant Adan Casarrubias Salgado is charged with narcotics conspiracy,

substantive narcotics offenses, and money laundering. The charges pertain to

defendant’s work with others (while defendant was located in Mexico) to send buses

with heroin loaded in hidden compartments to Chicago for distribution, and then to

send the resulting cash drug proceeds from Chicago back down to Mexico—likewise

hidden in the buses.

       DEA’s investigation into defendant and his coconspirators was based in large

part on the use of Title III wiretaps on Blackberry Messenger devices, including

devices used by the conspiracy’s Chicago-based manager—Cooperating Witness 1. As

will be explained at trial, Blackberry Messenger (which is commonly called “BBM”
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for short) was a text-based communications system used by many people in the 2000s

and 2010s. Instead of having a phone number, individuals using BBM were assigned

a PIN (personal identification number), which was a series of letters and numbers.

For example, the device that defendant used during the charged conspiracy had the

PIN 2824C71E. As this example makes clear, the PINs that Blackberry assigned

devices were very user unfriendly because they were a seemingly random series of

letter and numbers. As a result, Blackberry allowed its users to create their own

custom screennames that they would use while communicating with others, and

which others would see when communicating with them. In this case, defendant used

the screenname “Star” and Cooperating Witness 1 used the screenname “Comando,”

among others.

        The government expects the DEA case agent to explain that when the DEA

was intercepting the BBMs in this case, the DEA received a number of different types

of data in near real time from Blackberry, including: (1) the message content, (2) the

sender’s PIN, (3) the screenname for the sender, (4) the receiver’s PIN, (5) the

screenname for the receiver, and (6) the date and time of the message (set forth in

UTC).

                                     *      *      *

        In order to assist the jury’s review and comprehension of the Title III evidence,

the government is creating exhibits setting forth the intercepted Blackberry

communications that the government intends to introduce at trial. The government


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will authenticate these exhibits through the testimony of the DEA case agent (who

participated in their interception), but also through the testimony of Cooperating

Witness 1—who personally participated in every BBM conversation the government

will seek to admit. The government’s BBM exhibits will aid the jury by organizing

the intercepted data to make it more readable, and also by including English

translations of the intercepted messages, which were all in Spanish originally. 1

       A portion of a proposed exhibit is copied below as an illustration (with

Cooperating Witness 1’s name redacted for now):




1 If no stipulation is reached, the government will lay the foundation for the Spanish-to-English
translations by calling the translator as a witness.
                                                  3
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       Almost all of the information set forth in this exhibit comes from the intercept

itself, namely, the date, time, 2 the screennames associated with each message

(“Comando” and “Star”), the Spanish message, the PINs of the speakers (333F1B34

and 2824C71E), and the PIN the wiretap was on (333F1B34). Beyond that original

data provided by Blackberry, the government has added line numbers for ease of




2 As noted, the original date and time were provided in UTC format. In the government’s exhibits, in
order to assist the jury’s comprehension of the events presented—most of which happened in the
Chicago area—the time has been adjusted in the exhibits (by subtracting five hours) in order to display
the time in Chicago Daylight Time.

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reference, and Spanish translations so the messages can be understood by the jury.

The government has also identified the speakers by their true name (here,

Cooperating Witness 1’s true name (currently redacted) and Adan Casarrubias

Salgado). This information was not part of the intercept from Blackberry. Instead,

these identifications will be based on the testimony of Cooperating Witness 1, who

personally participated in each of these conversations and who knew all the

speakers. 3

II.     ARGUMENT

        The government seeks a pretrial ruling that—subject to laying the foundation

as discussed above—the government be permitted to include identification of the

speakers/users on the transcripts (e.g., “Adan Casarrubias Salgado” in the example

above). It is common practice in this district for transcripts used during trial to

include the names of the alleged speakers, and the Seventh Circuit has affirmed this

practice. See, e.g., United States v. Breland, 356 F.3d 787, 795 (7th Cir. 2003)

(affirming the district court’s decision to admit transcripts of recorded calls, including

with the alleged speakers’ names included on the transcripts). 4



3 Cooperating Witness 1’s identifications are corroborated by some of the messages in which different
individuals are referred to by the first name. In one exchange, Cooperating Witness 1 tells a third
party, “Let me give you adan’s ping and ask him to tell you where correctly,” and then Cooperating
Witness 1 sends, “2824c71” and “of Adan.”

4 In Breland, the government laid the foundation for the identifications by having an agent familiar
with the speakers’ voices testify that they were the speakers on the calls. Here, with regard to the
Blackberry messages, voice identification is not possible because they were text messages. But nothing
about Breland or the cases upon which it relies suggests there is something special about voice
identification testimony. Instead, the clear takeaway is that the government must provide evidence
that the alleged speaker is the speaker, which the government will do in this case, as described above.
                                                  5
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      The government will make clear through the case agent that these name

identifications were added to the exhibits by the government, and not provided by

Blackberry as part of the interception. And to further avoid any confusion, the

government would have no objection to the Court giving a limiting instruction during

the presentation of evidence and/or before deliberations. Such an instruction could be

along the lines of:

      Government Exhibits 6001 through and including 6120 contain the
      content of certain intercepted Blackberry Messenger messages admitted
      into evidence. These exhibits are evidence. These exhibits, however,
      also contain the government’s written identification of the participants,
      which are added to these exhibits, as a demonstrative aid. The
      government’s written identification of participants are not themselves
      evidence or proof of any facts, and you can accept or reject these written
      identifications. It is for you the jury to decide, based on all of the
      evidence admitted at trial, if the government’s identifications are
      accurate in whole, in part, or not at all.

      Here, the government requests that it be permitted to include these

demonstrative aids in order to assist the jury. Essentially, the identifications

summarize the evidence the government will be presenting on the identification of

the speakers. The labels will help the jury process this evidence, apply it to the BBM

exhibits, and more easily follow along. This is necessary because the BBM PINs and

screennames can get very confusing very fast.

      At the same time, the defense will have the full ability to challenge that

underlying evidence and to argue that the exhibits are misidentified. And the

government would have no objection to the Court providing an instruction along the

lines of the one above whenever necessary to ensure the jury does not get confused or

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misapprehend the source of the identification labels.

III.     CONCLUSION

         For the foregoing reasons, the government respectfully requests that this

motion be granted and the government be given leave to include the identity of the

speakers in its Blackberry Messenger exhibits.



                                               Respectfully submitted,

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